                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

 UNITED STATES OF AMERICA                          )
                                                   )
 v.                                                )      Nos. 2:23-CR-00111-1-JRG-CRW
                                                   )           2:21-CR-00027-1-JRG-CRW
 SEAN CHRISTOPER WILLIAMS                          )

                                           ORDER

        This matter is before the Court on Attorney Illa I. Berenshteyn’s Motion to Declare

 Cases Unusually Complex and for Budget [Docs. 56 & 108]. The Court finds no basis to

 conclude, from Mr. Berenshteyn’s motion or the record, that the charges of attempted escape

 and escape under 18 U.S.C. § 751(a) are unusually complex, so to the extent Mr. Berenshteyn

 moves the Court to declare Case Number 2:21-CR-00027 unusually complex, his motion is

 DENIED.

        To the extent, however, he argues that Case Number 2:23-CR-00111, which is the case

 consisting of charges of sexual exploitation of a minor under 18 U.S.C. § 2251(a) and (e), is

 unusually complex, the Court will consider this argument further in a hearing. The parties are

 therefore ORDERED to appear before the Court for a hearing on Monday, July 1, 2024, at 1:30

 p.m.

        So ordered.

        ENTER:


                                                   s/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




Case 2:23-cr-00111-JRG-CRW Document 57 Filed 06/20/24 Page 1 of 1 PageID #: 980
